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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


   IN RE JOHNSON & JOHNSON TALCUM      Civ. Action No. 3:16-md-02738 (FLW)
   POWDER PRODUCTS MARKETING,          (LHG)
   SALES PRACTICES, AND PRODUCTS
   LIABILITY LITIGATION                MDL No. 2738


   THIS DOCUMENT RELATES TO ALL
   CASES




       THE PLAINTIFFS’ STEERING COMMITTEE’S MEMORANDUM OF LAW
   IN RESPONSE AND OPPOSITION TO DEFENDANTS JOHNSON & JOHNSON AND
    JOHNSON & JOHNSON CONSUMER INC.’S NOTICE OF BANKRUPTCY FILING
                         AND STAY OF PROCEEDINGS
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          The Plaintiffs’ Steering Committee (the “PSC”) in the In re: Johnson & Johnson Talcum

  Powder Products Marketing, Sales Practices and Products Liability Multi-District Litigation

  (MDL No. 2738) before the United States District Court for the District of New Jersey (the “MDL

  Litigation”), by and through its undersigned counsel, respectfully submits its response in

  opposition (the “Opposition”) to the Notice of Bankruptcy Filing and Stay of Proceedings (the

  “Stay Notice”) filed by Defendants Johnson & Johnson (“J&J”) and Johnson & Johnson

  Consumer Inc. (“JJCI” and together with J&J, the “Defendants”). In support of the Opposition,

  the PSC respectfully states as follows:

                                   PRELIMINARY STATEMENT

          1.      The Stay Notice filed by the Defendants is legally flawed and procedurally

  defective. First, the Stay Notice baldly claims that the bankruptcy filing of LTL Management LLC

  (“LTL”) on October 14, 2021 (the “LTL Bankruptcy Case”) automatically stayed this action

  against every one of the nearly 150 Non-Debtor Entities (defined below). This is completely wrong

  as a matter of law. There is no question that section 362 of the Bankruptcy Code1 provides by its

  express terms for an automatic stay only for debtors and their property.

          2.      Second, while it is possible for the stay of collection efforts imposed under the

  Bankruptcy Code to be extended to non-debtors in narrow circumstances, such an extension is not

  self-effectuating. The party seeking to invoke the protections of the stay—tantamount to an

  injunction—must first meet its burden to prove the need for such relief and obtain a court order—

  just as it would for an injunction. This procedure is well established, and requires adequate notice

  to the affected parties and a hearing. By filing the patently defective Stay Notice, LTL and the

  Defendants show their disregard for the judicial process at the expense of the tens of thousands of


  1
   The Bankruptcy Code refers to title 11 of the United States Code, §§ 101 et seq. All references to “§__”
  are to the Bankruptcy Code unless otherwise indicated.
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  victims who have suffered severe injuries caused by the Defendants, among others, and who are

  parties in the MDL Litigation.

         3.      Indeed, LTL and the Defendants appear to know that the Stay Notice is incorrect

  and misleading. After filing the Stay Notice, asserting that a stay was automatically in effect with

  respect to non-debtors, LTL filed a motion to extend the stay to the Defendants and the other Non-

  Debtor Entities with the Bankruptcy Court. But if such a stay were automatic or beyond doubt,

  LTL’s motion in the Bankruptcy Court would be entirely unnecessary. The Defendants are taking

  the extraordinary step of attempting to have two separate courts simultaneously decide the same

  issue, by motion no less, on an expedited basis and with hardly any notice to affected parties, rather

  than by complying with the requisite commencement of an adversary proceeding in the bankruptcy

  case, on notice to every affected party, seeking injunctive relief.

         4.      The Defendants cannot unilaterally declare that all claims against them are

  enjoined. Procedures to obtain a stay of third party actions pursuant to injunction proceedings

  exist for a reason—to allow notice to all parties impacted by such injunction and an opportunity

  to be heard. Moreover, because the Defendants have chosen to proceed by way of the Stay Notice,

  there is no factual record on which this Court might make such a determination.

         5.      Every day of delay puts at risk the very precise schedule that was put in place by

  this Court. On the precipice of the start of the bellwether trials, and at a critical juncture in the

  discovery process, any delay can be detrimental to ensuring that the Plaintiffs have the opportunity

  to prosecute their direct claims against the non-debtor Defendants. The Defendants’ unilateral

  declaration that a stay is in effect as to the Non-Debtor Entities—which it is not and which they

  know to be improper based upon their recent filing in the Bankruptcy Court seeking a stay—should

  not stand. Accordingly, the PSC respectfully requests that the Court reject the Defendants’



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  assertion that a stay is in effect and allow the MDL Litigation to proceed in accordance with the

  current discovery, briefing and trial schedule.

                                          BACKGROUND

         The MDL Litigation

         6.      The MDL Litigation features the tragic experiences of tens of thousands of

  individuals and/or their loved ones who have suffered from ovarian cancer attributable to the use

  of and exposure to Johnson’s Baby Powder® and Shower to Shower®. The Plaintiffs in the MDL

  Litigation are numerous (totaling in excess of 35,000) and are not nameless, faceless Plaintiffs, but

  people with their own unique story and history. The Plaintiffs consist of women, many of whom

  waited for years to have their day in court, or the families of women who did not live long enough

  to see their day in court, on their claims that their or their family member’s use of J&J’s talcum

  powder products caused ovarian cancer, and resulted in loss of life, unbearable pain and suffering,

  and overwhelming medical expense.

         7.      The MDL Litigation is nearing the end of case-specific discovery for the bellwether

  plaintiffs and is scheduled for trial beginning on April 25, 2022.

         The Divisive Merger

         8.      On October 11, 2021 (three days before the commencement of the LTL Bankruptcy

  Case), LTL’s predecessor, Johnson & Johnson Consumer, Inc. (“Old JJCI”), formed Royalty

  A&M LLC (“Royalty”) in the State of North Carolina. The totality of Royalty’s “operations”

  consist of no more than collecting royalty streams based on third party sales and potentially

  reinvesting the income to acquire new third party royalty streams. See Declaration of John K. Kim

  in Support of First Day Pleadings (the “First Day Declaration”) [LTL Bankruptcy Case, Dkt. 5],

  at ¶18 (attached as Exhibit “A” to the Declaration of P. Leigh O’Dell (the “O’Dell Dec.”). The


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  estimated value of the Debtor’s interest in Royalty is approximately $373 million, primarily

  comprised of the fair market value of the royalty streams. See First Day Declaration, at ¶ 26.

  LTL’s bankruptcy filings provide no discussion of how the royalty streams were selected, how and

  when they are paid, conditions to payment, how they are serviced, what, if any, collection efforts

  are required and what, if any, other “operations” are being performed by Johnson and Johnson

  Services, Inc., a New Jersey company, on LTL’s behalf.

         9.      The day after Royalty was formed—two days before the commencement of the

  LTL Bankruptcy Case—Old JJCI orchestrated an additional series of corporate maneuvers, known

  as a “Texas Two-Step,” to convert into a Texas limited liability company and, then as such, to

  take advantage of that state’s laws permitting divisive mergers that enable a business entity to split

  into two or more entities and assign its assets and liabilities as it wishes among the successor

  entities. See First Day Declaration, at ¶ 23. In the mass tort context, as here, the intent and design

  of the divisive merger is crystal clear: to quarantine all of the Old JJCI’s problematic liabilities in

  one entity (“BadCo”) and, thus, to untether those liabilities from the Old JJCI’s valuable assets

  and profitable operations, which were, in turn assigned to an entirely separate entity (“GoodCo”).

         10.     Specifically, on October 12, 2021, Old JJCI formed LTL in Texas as the BadCo, to

  which it transferred all of Old JJCI’s talc related liabilities and certain intangible assets related

  thereto (e.g., contracts, records, and privileges associated with Old JJCI’s talcum powder

  business). See First Day Declaration, at ¶¶ 18, 24. The same day LTL re-domiciled in North

  Carolina. Id. Old JJCI also transferred to LTL a portion of its remaining assets—ownership of

  Royalty, a bank account with approximately $6 million in cash and the rights under a funding

  agreement the approval of which LTL seeks, by motion, at the outset of LTL’s Bankruptcy Case

  (but not at the first day hearing scheduled for October 20, 2021 at 9:30 a.m. (ET)). Id.



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       11.    Simultaneously, Old JJCI organized another Texas entity, which immediately

thereafter merged into a New Jersey corporation, called Johnson & Johnson Consumer, Inc. (“New

JJCI”) as the GoodCo, to which Old JJCI’s other assets and liabilities were assigned. According

to LTL, New JJCI, LTL’s immediate parent company, “manufactures and sells a broad range of

products used in the baby care, beauty, oral care, wound care and women’s health care fields, as

well as over-the-counter pharmaceutical products.” First Day Declaration, at ¶ 19.

       The LTL Bankruptcy Case and the Defendants’ Filing of the Stay Notice

       12.    On October 14, 2021 (the “Bankruptcy Filing Date”), LTL filed for relief under

chapter 11 of the Bankruptcy Code with the United States Bankruptcy Court for the Western

District of North Carolina (the “Bankruptcy Court”) and assigned Case No. 21-30589. See

Voluntary Petition for Non-Individuals Filing for Bankruptcy (the “Bankruptcy Petition”)

attached as Exhibit B to the O’Dell Dec.

       13.    One day after the Bankruptcy Filing Date, the Defendants filed the Stay Notice in

this case. [MDL Litigation, Dkt. No. 25928].

       14.    Through the Stay Notice, the Defendants state, among other things:

              PLEASE TAKE FURTHER NOTICE THAT, upon the filing of
              LTL’s chapter 11 case, the automatic stay imposed by section 362
              of the Bankruptcy Code (the “Automatic Stay”) became
              immediately effective and, as a result, all claims asserted against
              LTL in the above-captioned action (the “Proceeding”) are stayed
              absent an order of the Bankruptcy Court lifting or modifying the
              Automatic Stay.

              PLEASE TAKE FURTHER NOTICE THAT: (i) Defendant
              Johnson & Johnson Consumer Inc. (“Old JJCI”), following a
              corporate restructuring that was completed on October 14, 2021,
              ceased to exist; (ii) as a result of the restructuring, LTL is now
              responsible for the talc-related claims asserted against Old JJCI in
              this Proceeding; and (iii) a new entity named Johnson & Johnson
              Consumer Inc. (“New JJCI”) was created as part of the same
              restructuring.

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                PLEASE TAKE FURTHER NOTICE THAT: (i) one or more of the
                entities set forth on the list attached hereto as Exhibit B and/or
                Johnson & Johnson are Defendants in this Proceeding (collectively
                with Old JJCI and New JJCI, the “LTL Defendants”); and (ii) as a
                result of the Automatic Stay, no further action may be taken to
                prosecute the talc-related claims against any LTL Defendant
                absent an order of the Bankruptcy Court lifting or modifying
                the Automatic Stay because (a) all LTL Defendants share such an
                identity of interest with LTL that LTL is, in effect, the real-party
                defendant in any claims asserted against them in this Proceeding
                and/or (b) prosecution of the talc-related claims against any LTL
                Defendant would allow plaintiffs to fix claims against LTL –
                particularly through indemnity or alleged indemnity obligations, but
                also through collateral estoppel, res judicata and evidentiary
                prejudice.

Stay Notice, pp. 1-2 (emphasis added).

          15.   On October 18, 2021, LTL filed with the Bankruptcy Court the Debtor’s

Emergency Motion to Enforce the Automatic Stay Against Talc Claimants who Seek to Pursue

Their Claims Against the Debtor and Non-Debtor Affiliates (the “Emergency Stay Motion”),

which is attached as Exhibit C to the O’Dell Dec. In short, the Emergency Stay Motion requests

that the Court enter an order determining that the automatic stay applies to the Non-Debtor Entities

herein.

                                          ARGUMENT

                                             POINT I

 THE NON-DEBTOR ENTITIES ARE NOT ENTITLED TO THE PROTECTIONS OF
                      THE AUTOMATIC STAY

          16.   By filing the Stay Notice, the Defendants have attempted to short circuit the well-

established procedure for extending the Bankruptcy Code’s automatic stay. Only LTL filed a

bankruptcy petition, and therefore only LTL and its property as of the time of the Bankruptcy

Filing Date are entitled to the benefit of the automatic stay. A bankruptcy stay is not automatic

for actions against non-debtor third parties, but must be affirmatively extended to such parties
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after—at a minimum—notice, a hearing, and court order. It is LTL’s burden to prove the need for

such an extension and to obtain an order to that effect. Accordingly, with the exception of LTL, at

this time the automatic stay under the Bankruptcy Code is not applicable to stay the litigation

pending against the other Defendants, each of whom are presently non-debtors in the LTL

Bankruptcy Case.

       A.      Section 362(a) Only Applies to a Debtor

       17.     Upon commencement of a debtor’s bankruptcy case, § 362(a) of the Bankruptcy

Code immediately and automatically stays all “action[s] or proceeding[s] against the debtor” and

all actions “to obtain possession ... or to exercise control over property of the estate.” 11 U.S.C.

§§ 362(a) (1), (3). It is clear on its face, the automatic stay under Bankruptcy Code § 362 protects

only debtors and their property—not non-debtors or their property. See, e.g., McCartney v. Integra

Nat. Bank North, 106 F.3d 506, 509–10 (3d Cir. 1997) (noting that section 362(a)(1) does not

benefit sureties, guarantors, co-obligors, or others with connection to the debtor); Teachers Ins.

and Annuity Assoc. of Am. v. Butler, 803 F.2d 61, 65 (2d Cir. 1986) (“It is well-established that

stays pursuant to § 362(a) are limited to debtors and do not encompass non-bankrupt co-

defendants.”); Williford v. Armstrong World Indus., Inc., 715 F.2d 124, 126 (4th Cir. 1983) (“[W]e

need only examine the plain wording of the statute itself. It provides only for an automatic stay of

any judicial proceeding ‘against the debtor.’”); CresCom Bank v. Terry, 499 B.R. 494, 496 (D.S.C.

2013) (“This automatic stay provision applies to judicial proceedings and enforcement of

judgments against only the debtor, not third party defendants or co-defendants.” (citing Credit

Alliance Corp. v. Williams, 851 F.2d 119, 121 (4th Cir. 1988))); In re Log, L.L.C., No. 10-80378,

2010 WL 4774347, at *2 (Bankr. M.D.N.C. Nov. 9, 2010) (“[Section 362(a)(1)] has traditionally




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been interpreted to include only formal legal proceedings against the debtor, and not litigation that

collaterally affects the debtor.”).

        18.     Here, a bankruptcy petition was filed solely by LTL.             Yet, incredibly, the

Defendants attached to the Stay Notice an astounding list of nearly 150 entities that the Defendants

assert are protected by the automatic stay of the Bankruptcy Code as a result of LTL’s bankruptcy

filing. The list includes not only J&J and JJCI, but also a breathtaking array of entities—such as

“7-Eleven,” “Albertson’s Companies, Inc.,” “Family Dollar Stores,” “Target Corporation,” etc.,—

whose immediate relation to these entities or to LTL is not stated (collectively, the “Non-Debtor

Entities”). The breadth of the list is without reasonable justification as it appears that not all of

the Non-Debtor Entities are even Defendants in the MDL Litigation. As the Defendants merely

point out, “one or more of the entities set forth on the list” are Defendants as opposed to definitively

stating each of the Non-Debtor Entities is a Defendant in the MDL Litigation. Stay Notice, p. 2.

The Defendants have presented nothing—neither evidence nor meaningful argument—to support

the claim that this extensive list of parties benefit from the automatic stay.

        B.      None of the Other Defendants Are Alleged to Have Filed for Bankruptcy

        19.     Notably, nowhere in the Stay Notice is it stated that either J&J and/or JJCI filed a

bankruptcy petition of their own making them a debtor under the Bankruptcy Code.

        20.     Nor is it stated in the Stay Notice that any of the other entities on Exhibit B to the

Stay Notice filed a bankruptcy petition of their own, making them a debtor under the Bankruptcy

Code.

        21.     Accordingly, none of J&J, JJCI or the other non-Debtor Entities on Exhibit B to the

Stay Notice can avail themselves of the automatic stay under § 362 as a debtor under the

Bankruptcy Code.



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       C.      The Defendants Unilaterally and Wrongfully Extend Claim to the Automatic
               Stay to the Non-Debtor Entities Without Court Order

       22.     Though LTL is the only debtor in connection with the LTL Bankruptcy Case, the

Defendants have taken it upon themselves to expand the scope of the automatic stay to the Non-

Debtor Entities in the absence of a court order. While an extension of the bankruptcy stay to non-

debtor parties is possible in limited and rare instances, no such extension is available automatically

or as of right by virtue of the statutory text. See, e.g., In re Plan 4 Coll., Inc., No. 09-17952DK,

2009 WL 3208285, at *1 (Bankr. D. Md. Sept. 24, 2009) (“[T]here is no cognizable dispute that

by law 11 U.S.C. § 362(a)(1) only creates a stay of actions that were or could have been

commenced against the debtor but does not create automatically such a stay of actions against non-

debtor parties.”). To the contrary, an extension of the kind that the Defendants assert requires a

court order. See In re All Seasons Resorts, Inc., 79 B.R. 901, 904 (Bankr. C.D. Cal. 1987) (“[T]he

automatic stay does not automatically encompass co-defendants.            A court must make that

determination upon request of the debtor.”).

       23.     Moreover, where, as here, relief requested is injunctive or equitable in nature, it

requires an adversary proceeding under the Federal Rules of Bankruptcy Procedure. See FED. R.

BANKR. P. 7001(7) (making “a proceeding to obtain an injunction or other equitable relief” is an

adversary proceeding). Accordingly, an extension of the stay of the kind that the Defendants assert

is almost exclusively sought in the context of an adversary proceeding with a request for a

preliminary injunction—including within the Western District of North Carolina, where the LTL

Bankruptcy Case is pending. See, e.g., See Aldrich Pump LLC v. Those Parties to Actions Listed

on Appendix A to Complaint (In re Aldrich Pump LLC), No. 20-30608 (JCW), Adv. Pro. No. 20-

03041 (JCW), 2021 WL 3729335, at *1-2 (Bankr. W.D.N.C. Aug. 23, 2021); DBMP LLC v. Those

Parties Listed on Appendix A to Complaint (In re DBMP LLC), Case No. 20-30080, Adv. Pro. No.

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20-03004, 2021 WL 3552350, at *1-2 (Bankr. W.D.N.C. Aug. 11, 2021). This is also true within

the Third Circuit. See, e.g., In re Hart, 530 B.R. 293, 309 (Bankr. E.D. Pa. 2015) (concluding that

an adversary proceeding is required to seek an extension of the stay).

       24.     But there is no adversary proceeding or court order here. Instead, the Defendants

simply and brazenly state, “one or more of the entities set forth on the list attached [thereto] as

Exhibit B and/or Johnson & Johnson are Defendants in this Proceeding (collectively with Old JJCI

and New JJCI, the ‘LTL Defendants’)” and as a result of the Automatic Stay (which is defined in

the Stay Notice to mean the automatic stay imposed upon the filing of the LTL bankruptcy case),

“no further action may be taken to prosecute the talc-related claims against any LTL Defendant

absent an order of the Bankruptcy Court lifting or modifying the Automatic Stay.” Stay Notice, p.

2. The foregoing statement is not only misleading to the Court, the parties in the MDL Litigation

and the public at large, but it is a gross mischaracterization of the scope and operation of the

automatic stay afforded by § 362(a)(1).

       25.     Most charitably interpreted, the Defendants’ statement appears to be based on the

fact that, within the Fourth Circuit—where the LTL Bankruptcy Case is pending—the automatic

stay has, in other cases, been extended to non-debtor parties on the grounds stated in the Stay

Notice. See Stay Notice (asserting that any claim pending against any party that either (i) shares

“an identity of interest” such that LTL is the “true defendant” or (ii) would result in claims against

LTL’s estate are automatically stayed simply because of LTL’s filing); see also A.H. Robins Co.

v. Piccinin, 788 F.2d 994, 999 (4th Cir. 1986) (holding that, though § 362(a)(1) is limited by its

text to debtors, under “unusual circumstances,” a “bankruptcy court may properly stay the

proceedings against non-bankrupt co-defendants”).




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         26.      The Defendants’ bare assertion in the Stay Notice that this type of extension applies

is of no moment. In fact, it underscores that the Defendants were first required to seek and obtain

an order extending the stay to the Non-Debtor Entities, which they have not. The Fourth Circuit’s

language in Piccinin makes clear that a bankruptcy court must first make a finding of unusual

circumstances in order to effect a stay as to non-debtor third-parties. Id. In other words, whether

a stay for non-debtors is appropriate is a determination that must be made on a case-by-case basis;

it is not self-effectuating. While this Court may also determine whether the stay applies in this

action,2 the bottom line is that the determination is one that must be made by a court, and not

unilaterally by debtors or non-debtors seeking the benefits of the stay. As described further below,

this is of particular importance here, as there is no factual record whatsoever to establish a predicate

for any extension of the stay—no less one so broad—and therefore reason to conclude that such a

stay does not apply.

                                                      POINT II

THE DEFENDANTS HAVE NOT DEMONSTRATED A BASIS FOR EXTENDING THE
          STAY AND HAVE NOT EVEN ATTEMPTED TO DO SO

         A.       No Record Exists that Would Entitle Defendants to an Extension of the Stay

         27.      As noted above, the Fourth Circuit applies an “unusual circumstance” test to

determine whether an extension of § 362(a)(1)’s stay to non-debtors is appropriate. Piccinin, 788

F.2d at 999; see also McCartney, 106 F.3d at 511 (making “unusual circumstance” exception

applicable within the Third Circuit). The available facts here would not satisfy the “unusual



2
  A district court has authority co-extensive with a bankruptcy court to determine whether an action before it is stayed
by operation of the bankruptcy code. In re Baldwin-United Corp. Litig., 765 F.2d 343, 347 (2d Cir.1985) (“Whether
the stay applies to litigation otherwise within the jurisdiction of a district court or court of appeals is an issue of law
within the competence of both the court within which the litigation is pending ... and the bankruptcy court supervising
the reorganization.”); see also Gilchrist v. Gen. Elec. Cap. Corp., 262 F.3d 295, 303 (4th Cir. 2001) (citing Baldwin
approvingly); Brock v. Morysville Body Works, Inc., 829 F.2d 383, 387 (3d Cir. 1987) (adopting Baldwin’s holding).
The determination is often left to bankruptcy courts, however. See, e.g., CresCom, 499 B.R. at 497–98.

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circumstances” test, however. The facts and circumstances here, while perhaps facially similar to

recent “Texas Two Step” cases pending in the Western District of North Carolina in which the

stay was extended to non-debtor third-parties, are distinct. See In re Aldrich Pump LLC, 2021 WL

3729335, at 30*–32 (Bankr. W.D.N.C. Aug. 23, 2021); In re DBMP LLC, 2021 WL 355230, at

*27–28 (Bankr. W.D.N.C. Aug. 11, 2021).

       28.     There, as here, the burden of proving appropriateness was on the party seeking the

benefit of the stay. Generally, the debtor must establish the basis for an extension by clear and

convincing evidence.     See Piccinin, 788 F.2d at 1003 (noting that “clear and convincing

circumstances” must be demonstrated for court to use equitable powers to stay actions against third

parties); see also FPSDA II, LLC v. Larin (In re FPSDA I, LLC), Bankruptcy No. 10–75439,

Adversary No. 12–08032, 2012 WL 6681794, at *8 (Bankr. E.D.N.Y. Dec. 21, 2012), as corrected

(Dec. 26, 2012) (“[E]xtensions of the stay to protect non-debtor parties are the exception, not the

rule, and are generally not favored. Thus, the movant must show by ‘clear and convincing

evidence’ that extension of the stay is warranted.”). And indeed, the debtors in those cases

commenced adversary proceedings before the bankruptcy court to determine whether an extension

of the stay was warranted. In each case, the decision was rendered on a full record after evidentiary

hearing.

       29.     In Aldrich Pump, for instance, the debtor—represented by the same bankruptcy

counsel as LTL—commenced an adversary proceeding on June 18, 2020, and contemporaneously

filed a motion seeking a preliminary injunction and to extend the stay to certain non-debtor third-

parties. Aldrich, 2021 WL 3729335, at *1–2. The Court ruled on the motion on August 23, 2021,

more than a year later, after contested discovery and a bench trial with live testimony from a half

dozen witnesses. Id. Based on that extensive record, the Aldrich Court determined that a



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continuation of litigation against the non-debtor entities would result in claims against the debtor

and trigger indemnification rights. Aldrich, 2021 WL 3729335, at *31. Here, however, the Court

and the parties are simply being asked to reach this same conclusion based solely on one paragraph

in the Defendants’ Stay Notice quoting the applicable Fourth Circuit standard from Piccinin. 3

       30.     Simply put, despite the Defendants’ assertions, there is currently no evidentiary

basis for this or any other court to determine whether the automatic stay should apply here. The

Defendants have made no representation about the relationship between LTL and the nearly 150

parties on Exhibit B to the Stay Notice, no less explained the nature of the indemnification

obligations between the parties.

       B.      Without a Complete Record, A Multitude of Open Legal and Factual
               Questions Prohibit Application of the Stay to Non-Debtor Entities

       31.     By attempting to avail themselves of the automatic stay by the Stay Notice, the

Defendants treat mere facial similarity to past cases as sufficient to extend the stay automatically

to the Non-Debtor Entities. But whether the stay applies to the Non-Debtor Entities requires

resolution of a host of factual and legal issues. As things stand, it is simply impossible to

adequately assess the merits of the Defendants’ assertion in the absence of a complete record—

and, as a result, it is impossible for LTL or the Defendants to have met their burden to obtain an

extension of the stay.

       32.     In the first instance, the Defendants simply assume an identity of interest exists

between LTL and the Non-Debtor Entities, contending in the Stay Notice that “all LTL Defendants

share such an identity of interest with LTL that LTL is, in effect, the real-party defendant in any



3
   Notably, neither the Aldrich court nor the DMBP court determined that an extension of § 362(a)(1) is
automatic. See Aldrich, 2021 WL 3729335, at *30 (concluding only that § 362(a)(1) “either presently
extends to, or can be extended through” the pending injunction motion); DMBP, 2021 WL 3552350, at *27
(same).
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claims asserted against them in this Proceeding.” Stay Notice, p. 2. Yet, a stay is not appropriate

to the extent that the Plaintiffs have independent claims against the Non-Debtor Entities, which

the Plaintiffs have. See Plaintiffs’ First Amended Master Long Form Complaint and Jury Demand

[MDL Litigation, Dkt. No. 132]. Where a party holds an independent direct claim against a non-

debtor, “there is no compelling basis by which a court must extend the automatic stay

provisions of § 362 to the non-debtor co-defendants.” In re First Cent. Fin. Corp., 238 B.R. 9, 18

(Bankr. E.D.N.Y. 1999) (quoting Duval v. Gleason, No. C–90–0242–DLJ, 1990 WL 261364,

*4 (N.D. Cal. 1990)); see also Holland v. High Power Energy, 248 B.R. 53, 58 (S.D. W.Va.

2000) (stating that unusual circumstance exception is inapplicable when a third party has

“obligations that are ‘independent’ and primary, not derivative of those of the debtor”); Phar-Mor,

Inc. v. Gen. Elec. Capital Corp. (In re Phar-Mor, Inc. Sec. Litig.), 166 B.R. 57, 62 (W.D. Pa. 1994)

(“[T]he Code was not intended to stay actions ... where the nondebtor’s liability rests upon his own

breach of duty.”); Chesapeake Crossing Assocs. v. TJX Cos., Inc., No. Civ. A. 2:92CV631, 1992

WL 469801, *4 (E.D. Va. 1992) (“[A] third-party defendant will not be covered under the stay ‘.

. . where the non-debtor’s liability rests upon his own breach of duty.’” (quoting Piccinin, 788 F.2d

at 999)).

       33.     The existence of independent claims is critical in this case because, as a result of

the merger, LTL holds all of the Defendants’ talc liabilities, but not all of their assets. As noted

above, LTL was only given ownership of Royalty, a bank account with approximately $6 million

in cash and the rights under a funding agreement. By attempting to stay these claims against the

Non-Debtor entities and forcing them into the bankruptcy, it would therefore artificially cap all

liability to the extent of LTL’s limited assets.




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       34.     While the Defendants further contend in the Stay Notice that the stay of litigation

against the Non-Debtor Entities is justified because the continued prosecution of claims against

Non-Debtor Entities will implicate potential indemnification obligations against LTL, there is,

again, no factual predicate for this. Neither LTL nor the Non-Debtor Entities has stated the nature

of the indemnification obligations that might flow between these parties. While the Court and the

parties are therefore only left to guess at the nature of these obligations, applicable law suggests

that only a narrow set of circumstances would afford the Non-Debtor entities the benefit of a stay.

       35.     The mere existence of indemnity or guaranty obligation does not automatically

justify extension of the automatic stay to non-debtors. In Credit Alliance, for example, the Fourth

Circuit refused to expand the automatic stay to include the guarantor of a note despite the fact that

the guarantor would be entitled to bring claims for reimbursement through the bankruptcy

proceedings. Credit Alliance, 851 F.2d at 121.

       36.     Where a non-debtor party “is entitled to absolute indemnity by the debtor on

account of any judgment that might result against them in the case[,]” extension of the automatic

stay may be appropriate. Piccinin, 788 F.2d at 999 (emphasis added). But the existence of a right

of indemnity is not, in and of itself, grounds for extension of the automatic stay. See, e.g., In re

Uni-Marts, LLC, 399 B.R. 400, 416 (Bankr. D. Del. 2009) (concluding that indemnification

obligation did not constitute “unusual circumstances” where it did not threaten reorganization); In

re Codfish Corp., 97 B.R. 132, 135 (Bankr. D.P.R. 1988); All Seasons Resorts, 79 B.R. at 904

(“Although there is a closeness between debtor and co-defendants by reason of their officer and

agent status and their right to indemnification ... the magnitude of the harm to debtor if no stay is

in force does not approach the scope of the potential injuries besetting the debtors in Robins and

Johns-Manville.”).



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          37.     All of the claims and causes of action asserted in the MDL Litigation arise out of

transactions that occurred prior to the Bankruptcy Filing Date. Accordingly, any indemnification

claim asserted by a Non-Debtor Entity is, at best, a general unsecured pre-petition claim subject to

the same review and allowance procedures as any other general unsecured pre-petition claim

before the Bankruptcy Court, and could be subject to expungement as contingent and unliquidated

pursuant to § 502(e)(1)(B) of the Bankruptcy Code.4

          38.     Furthermore, to the extent that the Defendants assert that prosecution of the claims

against the Non-Debtor Entities will result in decisions or judgments against debtor LTL, or that

there is risk of collateral estoppel, stare decisis or evidentiary prejudice against LTL, this notion is

also flawed.

          39.     Indeed, the risk of collateral estoppel, stare decisis, and evidentiary prejudice

against LTL is a red herring. The fact that another plaintiff may attempt to assert collateral estoppel

or a related doctrine based on a finding by the court in this action is not an appropriate ground on

which to enjoin the actions. See Queenie, Ltd. v. Nygard Int’l, 321 F.3d 282, 288 (2d Cir. 2003)

(“If such apprehension could support application of the stay, there would be vast and unwarranted

interference with creditors’ enforcement of their rights against non-debtor co-defendants.”).

Indeed, in Queenie, the Second Circuit noted that it had “not located any decision applying the

stay to a non-debtor solely because of an apprehended later use against the debtor of offensive



4
    Section 502(e)(1)(B) provides:
          (e)(1) Notwithstanding subsections (a), (b), and (c) of this section and paragraph (2) of
          this subsection, the court shall disallow any claim for reimbursement or contribution of an
          entity that is liable with the debtor on or has secured the claim of a creditor, to the extent
          that . . .
          (B) such claim for reimbursement or contribution is contingent as of the time of allowance
          or disallowance of such claim for reimbursement or contribution . . . .

11 U.S.C. § 502(e)(1)(B).
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collateral estoppel or the precedential effect of an adverse decision.” Id.; see also Forcine Conrete

& Const. Co. v. Manning Equip. Sales & Serv., 426 B.R. 520, 526 (E.D. Pa. 2010) (“[T]he Queenie

court ‘located [no] decision[s] applying the stay to a non-debtor’ solely on collateral estoppel

grounds, and this court has discovered no post-Queenie cases in this district extending a stay on

such grounds.”); Lyondell Chem. Co. v. CenterPoint Energy Gas Servs. Inc. (In re Lyondell Chem.

Co.), 402 B.R. 571, 591 (Bankr. S.D.N.Y. 2009) (declining to find irreparable injury as a

consequence of the potential application of collateral estoppel, res judicata, or stare decisis);

Trustees of the Sickness & Accident Fund of Local One-L v. Philips Winson, Inc., No. 00 Civ. 9554

(MHD), 2005 WL 273017, at *2 (S.D.N.Y. Feb. 3, 2005) (citing Queenie and holding that the

“possible precedential effect on the debtor’s case ... is not an adequate basis for extending the

automatic stay to a non-debtor”).

       40.     Finally, there will be no burden on or distraction of any employee of LTL by reason

of the prosecution of the MDL Litigation against the Non-Debtor Entities. Certainly, J&J, one of

the world’s largest healthcare companies, cannot convincingly demonstrate that it has limited

resources or staff such that the continued prosecution of claims against it would burden J&J’s daily

operations.

                                 RESERVATION OF RIGHTS

       41.     Should any of the Defendants subsequently seek an extension of the stay by motion

or application before this or any other Court, the PSC reserves the right to amend, modify and/or

supplement this Opposition, and/or file a separate objection, based on new information, including

but not limited to any new information that may be produced by the Defendants.




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                                         CONCLUSION

       42.     For the reasons set forth above, there is currently no stay effective against the Non-

Debtor Entities. Neither LTL nor the Non-Debtor Entities have sought such a stay by procedurally

proper means and, as a result, have not provided this Court with an adequate basis to determine

that the automatic stay applies as set forth in the Stay Notice. This Court should therefore conclude

that the automatic stay does not presently apply to the Non-Debtor Entities subject to further order

of this Court or the Bankruptcy Court, and grant such other and further relief as the Court may

deem proper.

 Dated: October 20, 2021                 Respectfully submitted,

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